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18
                                     UNITED STATES DISTRICT COURT
19                                 NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21     JULIAN SANTIAGO, and SUSAN LYNN
       HARVEY individually and on behalf of all                  DECLARATION OF ANIBAL
22     other similarly situated,                                 RODRIGUEZ IN SUPPORT OF
                                                                 PLAINTIFFS’ MOTION FOR CLASS
23                       Plaintiffs,                             CERTIFICATION
        v.
24
                                                                 Judge: Hon. Richard Seeborg
25     GOOGLE LLC,                                               Courtroom 3 – 17th Floor
                                                                 Date: October 5, 2023
26                       Defendant.                              Time: 1:30 p.m.
27

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       __________________________________________________________________________________________________________________
                   RODRIGUEZ DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                  DECLARATION OF ANIBAL RODRIGUEZ

2              I, Anibal Rodriguez, declare as follows.

3              1.       My name is Anibal Rodriguez. I am over eighteen years of age and am competent

4     to testify to and have personal knowledge of the facts set forth herein.

5              2.       I am a plaintiff in this lawsuit against Google, LLC (“Google”). To protect my

6     privacy, I use Google’s Web & App Activity (“WAA”) and Supplemental Web & App Activity

7     (“sWAA”) privacy controls to block Google from tracking me. Because Google is a one of if not

8     the largest companies that collects comprehensive data on people, I turned WAA and sWAA off

9     to prevent Google from collecting information about me and using it to track me.

10             3.       When I opened my Google account in 2014, and in the years before filing this

11    lawsuit, I had read Google’s Terms of Service, Privacy Policy, and other Google disclosures to

12    understand what data was and was not collected when WAA and sWAA were turned off. I agreed

13    to those terms. This included the Activity Controls page, and Google was never mentioned as

14    someone that would still have access to my Web & App Activity and supplemental Web & App

15    Activity when WAA and sWAA were turned off. All of these documents and disclosures from

16    Google provided me with the option to control of what information would be shared with Google

17    and when, and I expected that Google would not collect, save, or use my Web & App Activity and

18    supplemental Web & App Activity when I had turned off WAA and sWAA.

19             4.       After learning about privacy concerns stemming from Google’s data collection, I

20    sought the advice of an expert and attorneys to further investigate those patterns. Then I found out

21    that Google’s representations and disclosures about WAA and sWAA were false and that Google

22    instead collects massive amounts of data from my phone even when WAA and sWAA are turned

23    off. So, I filed this lawsuit to pursue Google for this conduct and to protect my privacy and the

24    privacy of those who turned off WAA and sWAA.

25             5.       I brought this case as a class action on behalf of two nationwide classes of

26    individuals. The first nationwide class is:

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               Class 1: All individuals who, during the period beginning July 1, 2016 and continuing
1              through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
2              “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
3              running the Android operating system, because of the Firebase Software Development Kit
               (“SDK”) and/or Google Mobile Ads (“GMA”) SDK.
4
               6.       The second nationwide class is:
5
               Class 2: All individuals who, during the period beginning July 1, 2016 and continuing
6              through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
               “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
7              Google-branded mobile app was still transmitted to Google, from (c) a mobile device
               running a non-Android operating system, because of the Firebase Software Development
8              Kit (“SDK”) and/or Google Mobile Ads (“GMA”) SDK.
9              7.       As a class representative, I understand I have a duty to protect the interests of the
10    classes. I will protect the best interests of the members of the classes and will work with my
11    attorneys to obtain success on behalf of those classes.
12             8.       I am not aware of any facts that would limit my ability to adequately represent the
13    interests of other members of the classes, or that my interests conflict in any way with the interests
14    of the classes. I have not been promised any compensation for bringing this case and serving as a
15    class representative.
16             9.       I understand that I am a member of Class 1 because I turned WAA and sWAA off
17    but Google still collected my Web & App Activity and supplemental Web & App Activity on non-
18    Google-branded mobile apps from my Android mobile devices. Although I thought that Google
19    would not collect, save, or use any Web & App Activity and supplemental Web & App Activity
20    when I had turned off WAA and sWAA, I now know that Google still collects, saves, and uses my
21    Web & App Activity and supplemental Web & App Activity without my consent.
22             10.      I have been and continue to be willing to do what is necessary to protect the interests
23    of the members of the classes. I have retained lawyers who have experience in class action
24    litigation. I have discussed this case with my lawyers on numerous occasions. I provided
25    deposition testimony for this case on October 16, 2022. I also authorized Google to pull
26    information from my account that is sensitive and confidential to me and helped gather information
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                RODRIGUEZ DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1     from my device (with the help of my lawyers and experts) to submit to Google to help understand

2     how Google’s tracking works.

3              11.      I am familiar with the claims that have been asserted in the case and have remained

4     apprised of the strategy employed in this litigation. I am committed to staying up to date on any

5     additional developments in this case by continuing to confer with my attorneys on a regular basis.

6              12.      I am aware that there are expenses involved in representing classes and have

7     arranged with my attorneys that the expenses will be paid by my attorneys and that they will seek

8     reimbursement of these expenses if a recovery is obtained.

9              13.      I will appear at trial for this case.

10    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

11    true and correct. Executed this 20th day of July, 2023, at Miami, Florida..

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                RODRIGUEZ DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
